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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                (Northern Division)

In re                                          *

G. WARE TRAVELSTEAD                            *       Case No. 96-54979-DWK
                                                       (Chapter 11)
         Debtor.                               *

*        *      *      *      *       *        *       *      *      *       *      *


                  ORDER APPROVING APPLICATION FOR
               PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM

         UPON CONSIDERATION OF the Application for Payment of Administrative

Expense Claim (the “Application”) filed by Extra Space Management, Inc. (“Extra

Space”) and for cause shown, it is, by the United States Bankruptcy Court for the District

of Maryland,

         ORDERED, that Joel I. Sher, the Liquidating Agent, shall pay to Extra Space

within 10 days of entry of this Order (a) a total sum of $23,072.00, which sum constitutes

the $20,268.00 in post-petition rent owed by the Liquidating Agent to Extra Space

commencing July 1, 2006 through November 1, 2007, and attorneys’ fees of $2,804.00

incurred by Extra Space in collecting the arrearages and (b) all additional attorneys’ fees




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and costs incurred by Extra Space after the filing of the Application in pursuing its rights

under the contracts; and it is further

         ORDERED, that the Liquidating Agent shall timely pay to Extra Space any and

all other sums due under the contracts as they accrue.

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                                       End of Order




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